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      FORD MOTOR COMPANY
   11
   12                        UNITED STATES DISTRICT COURT
   13                      CENTRAL DISTRICT OF CALIFORNIA
   14 IN RE: FORD MOTOR CO. DPS6               Case No. 2:18-ML-02814 AB (PVC)
      POWERSHIFT TRANSMISSION
   15 PRODUCTS LIABILITY                       Assigned to: Judge Andre Birotte, Jr.
                                               Courtroom 7B
   16 LITIGATION
   17 _______________________________          FORD’S NOTICE OF MODIFICATION OF
      THIS DOCUMENT RELATES TO:                RELIEF SOUGHT IN FORD’S MOTION
   18                                          TO COMPEL KLG PLAINTIFFS’
                                               COMPLIANCE WITH CASE
   19 All Knight Law Group (“KLG”) Cases       MANAGEMENT ORDER RE FACT
                                               SHEET & DISMISS CLAIMS AT DKT.
   20                                          NO. 1397.
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   28        NOTICE OF MODIFICATION RE MOTION TO DISMISS/COMPEL COMPLIANCE WITH CMO RE FACT
                                                 SHEETS AND DISMISS NON-COMPLIANT PLAINTIFFS
                                                                  Case No. 2:18-ML-02814 AB (PVC)
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     1        Ford Motor Company’s Motion to Compel Compliance with the CMO Re Fact
     2 Sheets (Dkt. No. 1397) had requested an order directing compliance and a dismissal
     3 for Plaintiffs who failed to certify by January 26, 2023 that they would comply with
     4 the Fact Sheets CMO. Ford hereby withdraws without prejudice only the portion of
     5 that request wherein Ford sought dismissal for Plaintiffs who failed to provide a
     6 certification by January 26, 2023. Ford continues its motion as it relates to ordering
     7 immediate compliance with the CMO re Fact Sheets.
     8        As for seeking any dismissal or other sanction in the future, Ford will for now
     9 make yet another attempt to secure KLG’s cooperation.
   10
   11 Dated: January 27, 2023                  Respectfully submitted,
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                                               SHOOK, HARDY & BACON LLP
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                                               By: /s/ Amir Nassihi
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   15                                                  Amir Nassihi
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   21                                          FORD MOTOR COMPANY
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   28         NOTICE OF MODIFICATION RE MOTION TO DISMISS/COMPEL COMPLIANCE WITH CMO RE FACT
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